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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA

V. NO. 3:16-CR-0239-L
MATTHEW D. RING

PLEA AGREEMENT
Defendant, Matthew D. Ring (Ring), his attorney, John M. Nicholson, and the
United States of America (the government), agree as follows:
1, Rights of the defendant: Ring understands that he has the rights
a. to plead not guilty;
b. to have a trial by jury;
C. to have his guilt proven beyond a reasonable doubt;

d, to confront and cross-examine witnesses and to call witnesses in his
defense; and

e. against compelled self-incrimination.
2, Waiver of rights and plea of guilty: Ring waives these rights and pleads
guilty to the offense alleged in Count One of the Information, charging a violation of 18
U.S.C. § 248(a)(3) and (b)(1), that is, Damaging Property of a Reproductive Health
Services Facility (Class A Misdemeanor). Ring understands the nature and elements of
the crime to which he is pleading guilty, and agrees that the factual resume he has signed

is true and will be submitted as evidence.

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3. Sentence: The minimum and maximum penalties the Court can impose
include:
a. imprisonment for a period not more than one year;

b. a fine not to exceed $100,000.00, or twice the pecuniary gain to the
defendant or loss to the victim(s);

c. aterm of supervised release of not more than one year, which may
follow any term of imprisonment. If Ring violates the conditions
of supervised release, he could be imprisoned for the entire term of
supervised release;

d. a mandatory special assessment of $25;

e. restitution to victims or to the community, which is mandatory under
the law, and which Ring agrees may include restitution arising from
all relevant conduct, not limited to that arising from the offense of
conviction alone;

f. costs of incarceration and supervision; and

g. forfeiture of property.

4, Court’s sentencing discretion and role of the Guidelines: Ring
understands that the sentence in this case will be imposed by the Court after consideration
of the United States Sentencing Guidelines (“Guidelines”). The Guidelines are not
binding on the Court, but are advisory only. Ring has reviewed the Guidelines with his
attorney, but understands no one can predict with certainty the outcome of the Court’s
consideration of the Guidelines in this case. Ring will not be allowed to withdraw his
plea if his sentence is higher than expected. Ring fully understands that the actual

sentence imposed (so long it is within the statutory maximum) is solely in the discretion

of the Court.

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5. Mandatory special assessment: Prior to sentencing, Ring agrees to pay
to the U.S. District Clerk the amount of $25, in satisfaction of the mandatory special
assessment in this case.

6. Defendant's agreement: Ring shall give complete and truthful information
and/or testimony concerning his participation in the offense of conviction. Upon
demand, Ring shall submit a personal financial statement under oath and submit to
interviews by the government and the U.S. Probation Office regarding his capacity to
satisfy any fines or restitution. Ring expressly authorizes the United States Attorney’s
Office to immediately obtain a credit report on him in order to evaluate his ability to
satisfy any financial obligation imposed by the Court. Ring fully understands that any
financial obligation imposed by the Court, including a restitution order and/or the
implementation of a fine, is due and payable immediately. In the event the Court
imposes a schedule for payment of restitution, Ring agrees that such a schedule
represents a minimum payment obligation and does not preclude the U.S. Attorney’s
Office from pursuing any other means by which to satisfy Ring’s full and immediately
enforceable financial obligation. Ring understands that he has a continuing obligation to
pay in full as soon as possible any financial obligation imposed by the Court.

7. Government's agreement: The government will not bring any additional
charges against Ring based upon the conduct underlying and related to Ring’s plea of
guilty. The government will dismiss, after sentencing, any remaining charges in the
pending Information. The government recommends a sentence of probation. Ring

understands, however, that this is a recommendation only and, as such, it is not binding

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on the Court. Further, Ring understands that if the Court does not accept this
recommendation, he has no right to withdraw his guilty plea. The government will file
a Supplement in this case, as is routinely done in every case, even though there may or
may not be any additional terms. This agreement is limited to the United States
Attorney’s Office for the Northern District of Texas and does not bind any other federal,
state, or local prosecuting authorities, nor does it prohibit any civil or administrative
proceeding against Ring or any property.

8. Forfeiture: Ring agrees not to contest, challenge, or appeal in any way
the administrative or judicial criminal forfeiture to the United States of any property
noted as subject to forfeiture in the Information and in any bills of particulars, or seized
or restrained by law enforcement officers during the investigation(s) related to this
criminal cause. Ring consents to entry of any orders or declarations of forfeiture
regarding all such property and waives any requirements (including notice of forfeiture)
set out in 19 U.S.C. §§ 1607-1609; 18 U.S.C. §§ 981, 983, and 985; the Code of Federal
Regulations; and Rules 11 and 32.2 of the Federal Rules of Criminal Procedure. Ring
agrees to provide truthful information and evidence necessary for the government to
forfeit such property. Ring agrees to hold the government, its officers, agents, and
employees harmless from any claims whatsoever in connection with the seizure,
forfeiture, storage, or disposal of such property.

9. Violation of agreement: Ring understands that if he violates any provision
of this agreement, or if his guilty plea is vacated or withdrawn, the government will be

free from any obligations of the agreement and free to prosecute Ring for all offenses of

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which it has knowledge. In such event, Ring waives any objections based upon delay in
prosecution. If his plea is vacated or withdrawn for any reason other than a finding that
it was involuntary, Ring also waives objection to the use against him of any information
or statements he has provided to the government, and any resulting leads.

10. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea
agreement. There have been no guarantees or promises from anyone as to what
sentences the Court will impose.

11. Waiver of right to appeal or otherwise challenge sentence: Ring waives
his rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to appeal from his
conviction, sentence, fine and order of restitution or forfeiture in an amount to be
determined by the district court. He further waives his right to contest his conviction,
sentence, fine and order of restitution or forfeiture in any collateral proceeding, including
proceedings under 28 U.S.C. § 2241 and 28 U.S.C, § 2255. Ring, however, reserves the
rights (a) to bring a direct appeal of (i) a sentence exceeding the statutory maximum
punishment, or (ii) an arithmetic error at sentencing, (b) to challenge the voluntariness of
his plea of guilty or this waiver, and (c) to bring a claim of ineffective assistance of
counsel.

12. Representation of counsel: Ring has thoroughly reviewed all legal and
factual aspects of this case with his lawyer and is fully satisfied with that lawyer’s legal
representation. Ring has received from his lawyer satisfactory explanations concerning

each paragraph of this plea agreement, each of his rights affected by this agreement, and

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the alternatives available to him other than entering into this agreement. Because he
concedes that he is guilty, and after conferring with his lawyer, Ring has concluded that it
is in his best interest to enter into this plea agreement and all its terms, rather than to
proceed to trial in this case.

13. Entirety of agreement: This document is a complete statement of the
parties’ agreement and may not be modified unless the modification is in writing and
signed by all parties.

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AGREED TO AND SIGNED this\2” “day of A VEY 4 b , 2016.

 

  

 

 

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MATTHEW D. RING” ~ LISA J. DUNN! ~
Defendant Assistant United States Attorney
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/JOHN M. Sd idow Fax: 214-659-8809
Attorney for Defendant Email: Lisa.Miller@usdoj.gov

 

I have read or had read to me this Plea Agreement and have carefully reviewed
every part of it with my attorney. 1 fully understand it and voluntarily agree to it.

 

 

 

<irTEW D. RING Date
Defendant

Iam the defendant's counsel. I have carefully reviewed every part of this Plea
Agreement with the defendant. To my knowledge and belief, my client’s decision to
Se into this Plea Agreement is an informed and voluntary one.

Zawh NY LAA SKA ¥-12-/4
JOHN M. NICHOLSO N Date
Attorney for Defendant

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